Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 1 of 22




          EXHIBIT 36
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                         Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 2 of 22

          Skip Main Navigation
           Menu
          The Official Website of the City of New York


          Text Size
           Select Language
          Powered by      Translate
          Search Search                      Search


          Secondary Navigation
          MayorBiographyNewsOfficials


          Transcript: Mayor de Blasio Hosts Media
          Roundtable on Reform at Rikers Island
          Correctional Facilities
          November 20, 2014

          Mayor Bill de Blasio: Welcome, everyone. It is a pleasure to be here with you to talk about a very
          very important issue facing our city – the changes that we have to make at Rikers Island, which we’ve
          been deeply engaged in over these last months. And we are now, as of this week, starting a new
          phase of reform and progress to address issues that really have been decades in the making. I’m
          very pleased to be here today with Commissioner Joe Ponte and with First Deputy Mayor Tony
          Shorris, both of whom have been deeply involved – obviously – in the work of reform.

          The notion we have had throughout this process is not only to stabilize the situation in the short term,
          but to come up with fundamental and long-term reforms – again, resolving issues that were not just
          years, but decades in the making. And that requires focus and urgency and also an understanding of
          how much it takes to achieve a culture change, because this is an institution that deeply needs a
          culture change – and the leadership, the investment, all the other pieces necessary to create change.

          Let’s face it – for many years, Rikers Island has been a dehumanizing environment – an environment
          unfair to the people who work there, unfair to the inmates. It created a dynamic of conflict and
          violence that became pervasive. The violence against correction officers, the violence against
          healthcare workers, the violence among inmates, the violence against inmates – all of these became
          entirely too common and were tolerated, and became dynamics that, to some, were intractable, were
          impossible to change. We have never had that view in this administration. We believe change is
          possible, change is necessary – and we’ve put a series of steps in place to achieve that change and
          we won’t stop until the change is not only achieved but is deep-seated.

          In the past, so many inmates ended their time at Rikers more broken than when they came in, serving
          no one – an unfair dynamic that served no one. It certainly didn’t serve the interests of the people of



1 of 21                                                                                                                     10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                         Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 3 of 22

          this city. The notion of rehabilitation and preventing repeat offenders got lost along the way in a
          system that was broken. It’s not only our obligation as public servants to address these issues – it’s
          our moral obligation. This is what all of us who choose to be involved in public service start with –
          keeping people safe. Ending violence, avoiding violence – this is as fundamental a task in public
          service as any, and that’s what we are all committed to.

          Reforming the dynamics at Rikers is a top priority of this administration, and it’s one that has become
          clearer with each passing month. I didn’t come into this office with extensive background on these
          issues. They weren’t the issues that were widely debated last year. I never had the opportunity to
          serve on the committees in the City Council, for example, that work on these issues. I came in
          knowing there were problems. Literally with each month, I’ve learned more about the extent of the
          problems and how much it will take to turn this situation around.

          And I think it’s important that this issue is being debated now in this city much more openly. I think it’s
          important that we bring these issues out of the darkness and into the light, because that’s the only
          way we will achieve change. And for that reason I welcomed the U.S. Attorney’s report in August,
          because I think it helped raise awareness of the problems and helped talk about the kind of reforms
          that were needed and necessary. But I emphasize – as shocking as some of these dynamics have
          been to all of us who have come to learn them in less than a year, there’s no hesitation here on the
          question of how we change things and how deeply we can change things.

          We are convinced we can fix this problem. We know it will take a lot of work – and again, it’s a culture
          change – it’s not just about some pinpoint investments or small Band-Aid solutions. This is a culture
          change. This is going to take widespread reform, but we’re convinced we can do it. What it requires,
          as in so many other situations where a culture change is necessary, is the right leaders. It requires
          reforms of enough sweep and strength. It requires a constant commitment from the top – and that
          commitment is there.

          So the plan that we are putting in place is bold, it is comprehensive – it’s the kind of thing that can
          actually turn around those years of neglect.

          It all begins, as with so many other things in life and in government, with choosing the right leader.
          And a lot of people in this city have not gotten to know Joe Ponte yet, but I have. I’ve gotten to see
          him under fire, dealing with extraordinarily complicated dynamics. And I have tremendous respect for
          Joe Ponte, tremendous faith in his ability to lead us to the reforms that we need. I had not worked
          with Joe before, but what struck me during the interview process and in all the conversations I had
          with people about him was that this was a guy who started as a corrections officer himself,
          understood the work from the grassroots, from being there on the front line; had, even early on in his
          career, been put into some of the most difficult and seemingly intractable situations in his native
          Massachusetts; then became such a nationally renowned reformer that he was literally hired time and
          time again into exceeding troubled correctional systems with the goal of turning them around – and
          he had great success achieving that. So we think in the corporate sector about the turnaround
          specialists, the CEO’s who are brought in to fix a broken corporation – well, Joe has done that all over
          this country when it comes to corrections issues. He’s never been afraid to take on a dysfunctional jail
          or prison, because he had learned early on the things that would make a difference.

          Part of what I’ve come to appreciate with all of our public safety leaders – and there’s a real parallel
          here if you look at the careers of Commissioner Bratton and Commissioner Nigro at fire – we believe
          in this administration in the model of choosing leaders who have done the work, choosing leaders


2 of 21                                                                                                                     10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                         Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 4 of 22

          who have walked the walk, and are not just reformers in principle or reformers because of academic
          knowledge, but have really done the work. And I think the parallel is very strong and I’ve – everyone
          in this room knows of my tremendous respect for Bill Bratton – I think there’s a real parallel here in
          the way that Joe Ponte has, throughout his career, taken what he learned as a correction officer,
          showed other people what kind of reforms and changes were needed, showed them that we needed
          a different culture, a different approach. And he’s had the strength do it, but he’s also had the
          legitimacy in the eyes of so many people he’s worked with – a legitimacy that only a battle-hardened
          veteran can have in the eyes of the people who do such difficult work – and it is difficult work. It is
          difficult work, it’s dangerous work, and people at this agency deserved a leader who understood the
          challenges of that work – and we were able to get them such a leader, both who could walk in their
          shoes, but also show them the path to a better way of doing things.

          Joe has very aggressively retooled the leadership team at Rikers, replacing over 90 percent of the
          senior leaders – and that was necessary for the culture change that we are undertaking. He brought
          in very experienced civilian leadership as well, including the former commissioner of the Connecticut
          corrections system. So the leadership piece is moving well and aggressively with Joe’s abilities and
          Joe’s vision. And the kind of team he’s put together – that piece I feel very strongly is secured.

          But now the question becomes ensuring the right resources will be there, the right policy actions to
          support these reforms. We’re committed to making those investments. We’ve already invested $32.5
          million dollars in mental health and anti-violence efforts, which include the creation of special units to
          provide additional treatment for the most severely mentally ill inmates. And we’ve talked about this
          before – this is one of the cores of the problem – mental health issues pervasive on Rikers, often
          having gone under-addressed or un-addressed, really creating a whole host of challenges that
          should’ve been dealt with at their root – we’re trying to now do that. 40 percent, by the way – 40
          percent of Rikers inmates have mental health challenges – and they account for over half of the
          violent incidents. So this is one investment – it’s a beginning to go right at the mental health
          challenges.

          We also need an atmosphere of security. We need the assumption to be that everyone is
          secure, unlike the assumption of the past. So we’ve invested – and this was just announced this week
          – $15.1 million dollars to add 7,800 cameras at Department of Corrections facilities. And that will
          allow us to create 100 percent coverage of all sensitive locations on Rikers Island. Because of this
          investment, Joe and his leadership will literally have the ability to see 100 percent of the locations of
          concern. And everyone else will know those cameras are trained on them – and that is part of
          creating an atmosphere of security. This is a tripling of the number of cameras overall – and this
          includes over 400 new cameras at the adolescent facility – the Robert N. Davoren Complex.

          And we’re taking major actions on the policy front as well. Starting this week, transgender inmates
          have the option for separate housing – that is a first-in-the-nation reform. And something that has
          been discussed, and should be discussed intensely – the focus on punitive segregation has been
          overdue, and because of policies promulgated by this commissioner we are ending the overreliance
          on punitive segregation. We are stopping it entirely for our youngest inmates and then we are
          reducing the maximum length in punitive segregation from 90 days to 30 days per infraction.

          This is a series of major reforms that will ensure the safety of corrections officers, ensure the safety of
          inmates, clearly creating an atmosphere of deterrence, an atmosphere of transparency that’s never
          existed at Rikers.



3 of 21                                                                                                                     10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                         Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 5 of 22

          Additionally, on Tuesday, Commissioner Ponte introduced an important and innovative proposal – the
          Enhanced Supervision Housing proposal. This is a specialized housing unit for the most dangerous
          inmates, who are responsible for most of the violence. And this is a really striking number – 2.2
          percent of the inmate population drives the majority of the violence. 2.2 percent of the population
          causes most of the serious violence on Rikers Island. Enhanced supervision housing will be the place
          that these individuals will be located, so that they can be properly supervised. And let’s be clear – it’s
          not just about punishment or isolation. There will still be the services provided. There will still be out-
          of-cell time, but it will be a much safer and more controlled environment for the people who are the
          greatest challenge.

          And all this is still just to set the foundation – all of the things I’ve described are to set a foundation for
          safety and order so that, then, we can proceed to further reforms. But we have to get this piece right
          for all the other pieces to work – and for that reason, I want to express my full support for
          Commissioner Ponte’s reform plan. I want to urge the Board of Corrections to approve it as proposed.
          After a public process and the review by the board members, I strongly believe the Board of
          Corrections should approve this plan as proposed.

          We have made some real progress, but we have so much more to do, but the point we’ve been trying
          to work towards – and I think we’ve reached it this week – is to create momentum for change – a
          number of piece of finally gelling together so we have the kind of momentum that can lead to lasting
          change. I intend to visit Rikers Island on December 18 to see for myself both the progress we’ve
          made and the challenges that we still have to address. And I look forward to working very closely with
          Commissioner Ponte as he continues to move us towards real reform and culture change.

          Just a quick few comments in Spanish before I turn to Commissioner Ponte –

          [Mayor de Blasio speaks in Spanish]

          With that, I’d like to have an opportunity for Commissioner Ponte to talk about the changes he’s
          making before we turn to your questions.

          Commissioner Joseph Ponte, Department of Corrections: I want to thank the mayor for the
          opportunity to really begin the dialogue on the work we’re doing here in New York City. The mayor
          and I have continued to talk about the challenges and the changes necessary at Rikers Island. We
          share a common goal on the meaningful change that has to occur for the reforms that we’ve put in
          place to have a lasting impact.

          The start of that reform is creating a safe, secure environment. Safety is paramount in anything we
          move forward with. Without a safe environment nothing effectively works in any correctional system. If
          we do not have a safe environment for both our staff and inmates, no programs, no rehabilitation,
          nothing will be effective.

          Since coming on as commissioner, I have undertaken a top-to-bottom review of the agency with
          special attention to the conditions that our inmates and staff face everyday. We immediately made
          changes to the organizational structure in the department. Over the last several months we have
          changed over 90 percent of the leadership that were in place when I started. Now we have instituted
          a flattened organizational structure that puts hands-on oversight in our uniformed branch. Our first
          deputy commissioner is two grades away from our facility supervision. So it’s a much different
          structure and we believe gives us better hands-on direction for our uniformed force.


4 of 21                                                                                                                     10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                         Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 6 of 22

          We’ve already seen some results. So our first focus was on RNDC, our adolescent facility. We were
          aware that there was an investigation that was ongoing when I arrived in April – [inaudible] we’ve
          seen great effects. So we’ve seen a dramatic decline in our adolescent use of force – it was declined
          by 53 percent; a dramatic decline on assaults on staff from a high of 12, to 2 as of October 21; a
          decline in inmate fights with injuries – serious injuries – from FY ’14 to ’15, down 18 percent. Serious
          injury to inmates declined by 100 percent. Already in FY ’15, we’ve had a 76 percent reduction in
          adolescent inmates serving time in punitive segregation. Today we have 13 adolescents in punitive
          seg and we’ll have zero by the end of this year. Already in FY ’15, we’ve seen a 46 percent in the
          reduction of adolescents in our RHU, which is our segregation units for those that have a level of
          mental illness.

          We continue to take major steps forward in implementing key pieces of our overall plan as quickly as
          possible. Those core pieces are focused on safety, and that’s our immediate goal. We are eliminating
          punitive seg for adolescents by the end of this year – and that’s within six months. Most organizations
          and juvenile agencies that have done these same things – they’ve spent years to accomplish that
          same task. We’re accomplishing that in six months here in New York.

          We announced our efforts to almost triple the number of cameras within the agency. At our current
          pace, prior to the mayor’s initiative, we would have [inaudible] years to get to 25 percent. Under our
          new proposal, we hope to – once the contract’s been rewarded – to have complete camera coverage
          everywhere – 100 percent – within 18 months of an award of a contract. These cameras help create a
          safe and secure environment for staff and inmates alike.

          I also want to thank the Board of Corrections for initiating the rule-making process for enhanced
          supervision. This is a cornerstone of our efforts to make our facilities safe. EHU – ESH, excuse me –
          is part of the fundamental change in policy that we think will make all of our facilities safer.

          Now, as they mayor’s indicated, 7 percent of our inmates were involved in violent incidents – 2.2
          percent in the most serious violence – and 67 percent of that group are involved in repeated incidents
          – they’ve been involved more than once. We have approximately – in using those numbers, that will
          allow us to state that we have about 2,500 incidents in a fiscal year that we could avoid if we had
          enhanced supervision in operation.

          With pieces of our reform package in place, together we expect to cut, by two-thirds, the number of
          days the inmates will be placed in punitive segregation. And we’ll be eliminating [inaudible] owed for
          all inmates in our custody.

          In the upcoming months, we’ll continue on with several other efforts. First, this includes a fundamental
          acceptance that different populations have different needs, and they all cannot be treated the same
          way – meaning that some inmates come in with very quick turnarounds and some of our inmates are
          with us for a year or longer. So, focusing our attention on how we manage and how we program the
          different populations will make us all more effective.

          We are providing new training for all of our staff, tailoring the needs of different populations, like our
          adolescents and mentally ill populations. You know, we didn’t do – until this year – the last several
          months – giving our officers training on how to manage an adolescent population. So those are
          commitments that we’ve made to make sure our staff are trained for the challenges that lie ahead.

          We have just established a specific – as the mayor said – a gender specific housing unit, which is the


5 of 21                                                                                                                     10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                         Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 7 of 22

          first in the nation. I think that will go a long ways to helping our inmates and, again, treating specific
          populations in a manner that allows them respectful, humane conditions.

          In addition, we have constant communication with the Department of Health – Mental Health and
          Hygiene – to better classify and serve our growing population of mentally ill in our facilities.
          Commissioner Bassett and I, as well as our staff, are focused on – focusing on building the necessary
          process to better share information, focus drawing resources, and develop a national model on the
          treatment of mentally ill inmates in custody.

          I personally appreciate the mayor’s support and collaboration and look forward to the continuing
          institute of long-term reform necessary to really change the New York City Department of Corrections.
          Thank you.

          Mayor: Thank you. Thank you very much, Joe.

          Just one other note before we go to questions on topic – and then we’ll go to off topic after. The
          interesting parallel again – listen to what Joe delineated. Obviously, he is data-driven. He is focused
          on creating the right leadership team. He’s focused on culture change. He’s focused on creating a
          collaborative atmosphere between the different agencies involved. These are very similar to the
          building blocks that have helped make the NYPD stronger, starting 20 years ago – again, a parallel to
          a lot of the work Commissioner Bratton has done. These transformative efforts not only require great
          leadership – they require a tremendous adherence to a vision.

          Joe understands that a number of reforms have to work together to change a culture that, for too
          long, accepted defeat. And I want to really credit him – and you heard the progress and the speed
          with which the progress has been made. As someone who’s only been applying his principles for six
          months, and yet has already achieved so much – it’s quite striking, and it’s an indication of what
          happens when there is that coherent philosophy and that belief in bringing together the right group of
          people and creating that collaborative atmosphere.

          And I’ve watched with great admiration as each step has been taken – as the violence has started to
          come down, as the sense of possibility has started to grow on Rikers that change really could come.
          And when you think about how difficult these transformations are – part of it is because, again, people
          get used to an unfortunately painful reality. They get used to violence, they get used to their needs
          being unmet, they used to the notion that they’re not going to be treated with respect and
          understanding – and I’m talking about everyone involved in the equation.

          And I think what Joe’s managed to do is understand that when you actually open up a serious
          dialogue about the changes that have to happen, when you actually engage each of the people who
          are part of the process, when you show that you’re trying to address the situation, something changes
          – something human changes. It’s harder to think about, perhaps, in a jail setting than it is in terms of
          fighting crime in a neighborhood, but some of the same principles apply. The folks who do the work
          have to believe that change happen, have to believe that their needs and concerns are being heard in
          the process. The folks who are the – the other end of the spectrum – in this case, the inmates
          – they’re still human beings. They’re still people that we are here to serve, who we’re here to help
          rehabilitate and move forward – and they have to believe that’s possible.

          It really comes down to a very human equation. And what Joe has done is take an equation that was
          hopeless and created hope and opened the door to real change. And for those of us who weren’t


6 of 21                                                                                                                     10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                         Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 8 of 22

          either involved in public life or the media in 1994, let’s say – didn’t get to see how the NYPD turned
          around – well, you’re going to get to see how the Department of Corrections turns around. You’re
          going to get to see with your own eyes the process of reform in what is clearly the toughest playing
          field in the nation – and I want everyone to know that Joe will have my full support and my focus in
          that effort, because I think he’s already gotten us on the right track – and much more to come.

          With that, I’d like to welcome questions on topic, and then we will go to off topic.

          Please –

          Question: Thank you, Mr. Mayor, Commissioner, for coming. I wonder – you mentioned, Mr. Mayor,
          at the beginning of your remarks, that you came in here with not a lot of knowledge about Rikers
          Island, with corrections. It wasn’t an issue that was spoken of quite – spoken of a lot during the
          campaign. Can you give us, perhaps, a little bit more detail? You mentioned, you know, your
          knowledge has expanded month by month, but how your knowledge, perhaps – how – how – what
          you have learned as you’ve gone through this process, and how this has changed your perspective
          on how change can be brought about. And maybe the commissioner could jump in on that as well,
          because he also is new to New York, new to Rikers Island. You know, is it – did – are some of the
          things that you saw or have seen – did that cause you to pause, cause to reassess what need to be
          done – the first steps that needed to be taken – perhaps even maybe caused you to scale back some
          of what were your initial ambitions – ?

          Mayor: All right – let’s – let’s – I want to see if I can remember all that. Well, I want to start with the
          parallel I just made. You know, in the early 90s – and I had been in this building 1990 to 1993 – so in
          terms of the public safety dynamics in the city, I had a real grounding, and then I saw the changes
          start to happen in terms of policing. It was straightforward to place those reforms – in terms of a real
          experience I had had, both in government and as an everyday citizen. But let’s face it – corrections
          issues are harder for any citizen to access unless they have been personally involved and they’ve
          experienced Rikers themselves, or a family member has, or they happen to work in that profession.
          For most people, it’s an abstraction – literally isolated from the rest of the city. And I’ve found that in
          my life in elective office – the issues rarely came to the fore, and we didn’t get that close look – I
          certainly didn’t – and I think I’m probably like most public servants and most citizens. So, I have to tell
          you that when I came into office, I probably had a little bit of faith – probably a little too much faith that
          things had been handled properly in the past. I knew there were problems, but I didn’t know there had
          been this level of neglect. And I didn’t know that so many failed policies had gone unchanged. And I
          didn’t know that so much failed leadership had been left in place. And it literally has been peeling
          back the onion – the first experiences I started to have, talking to people who had been involved in
          these issues, literally in the transition process – I started to hear warning signs. And as we proceeded
          with the search for the commissioner, in that process – interview process – you have to learn to be
          able to ask the right questions – and the more I was briefed, the more troubled I got. And then, once
          Joe came on board and started to go out and do the work, I started to hear his reports – and I think
          we were all deeply troubled by what we were hearing – not that Joe wasn’t doing everything he knew
          how to do. He had to learn first-hand not the legend of Rikers or the stereotype of Rikers, but the
          reality of Rikers. And so, for him, I think, week by week – I won’t speak for you, but I think could
          reflect on our discussions – there were discoveries each week. And practices that were shockingly
          outmoded, things that went unsaid, things that went unaddressed, kind of a culture of no – you know,
          a culture of what could not happen, rather than a culture of what had to happen. So this has been a
          growing reality in my life. The more I learn, the more I want to focus on it, the more change I want to



7 of 21                                                                                                                     10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                         Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 9 of 22

          make, the more I want to invest, the faster I want to go, because it is, of all of our agencies, the one, I
          think, that suffered the most neglect before we came along, and needs the most support. Over to you
          –

          Commissioner Ponte: I would only to the point where – when you look at outcomes, you know, like
          the DOJ report, as it pertains to adolescents – and it could be easily said to say, well, we have a – a
          – a lot of bad staff doing bad work. As you look deeper into the problem, you find many deficiencies
          on the organization side about providing training, about looking at national standards, about having
          conversations out there in the rest of the country about what’s happening in the juvenile front that we
          are not doing here in New York. So, it takes – it takes a problem that looks on the surface [inaudible]
          could be bad conduct, and, in fact, there are many pieces to that that needs to be fixed. So it does
          – when you start to dig down into these things, much of the responsibility, in my opinion, is on the
          leadership – that we have to do a better job getting our staff ready for these enormous challenges
          that they face. I made it clear, as it pertains to mental health – you read the officers’ job description –
          it says nothing about supervising mentally ill people, yet 40 percent of our inmates have a level of
          mental illness. Nobody signed up for this – I know in 40 years in corrections, I never thought I’d be
          running a mental health hospital – at least not one with 4,000 people admitted to it. So it’s something
          that we in corrections are getting better at. We’re training our staff to respond to these needs better
          than ever before. But for us, these are real challenges that really go on in a community or a society
          that needs to be – you know, as the mayor’s task force, we’re working on attempting to address
          those. So, you take a simple problem like why aren’t you doing certain things and drill down into it –
          and many facets that need to be repaired – to get to better outcomes.

          Mayor: And just picking up on that for a second – so, Joe’s – in my view, as I’m not a professional in
          the corrections field – but in a sense, he’s been reverse-engineering. He’s been looking at how things
          got that way – how they got so dysfunctional – and backing up and figuring out where the fault lines
          were, where the problems were. That’s a great example – 40 percent of the population has mental
          health challenges – no serious acknowledgment in the training and the preparation of the officers, or
          even in the job description. Look, this is part of a bigger problem, to say the least. As a nation, we are
          not addressing mental health challenges across the board – and that’s something this administration
          will be working on in many fronts. But I think it’s fair to say these challenges are most intensely felt in
          Joe’s agency – and that’s – they come home most deeply on Rikers Island. And yet, as a symbol of
          the neglect that this agency experienced, there was no public acknowledgement that the problem of
          Rikers Island is first and foremost a mental health problem – it’s never been acknowledged by this
          city government previous to this year. And you know, the classic dynamic – you can’t – you can’t
          address an illness if you can’t diagnose it. We literally, as a city, did not even diagnose the problem
          until now. And I appreciate that it is Joe’s nature – and I think he’s a truth-teller – I think he’s someone
          who is able to, because of his experience, see what’s actually going on. It’s his nature to also say it
          out loud – and I give him a lot of credit. There is a tendency in government to put a rosy face on
          things or minimize the problem. I think in all of his testimony at the City Council and all of his press
          conferences, Joe’s never tried to minimize the problem. He’s been very up front with the people about
          this – of this city about how bad it is. But at the same time, because we’ve actually been able to figure
          out where the core problems are, it shows us a pathway to resolution.

          Question: I noticed – Jake Pearson, AP – I noticed one person not up here from the city government
          is the health commissioner. It could be a scheduling thing, but so much – it appears to me, having
          covered this for the past year and a half or so – is the intersection of two different agencies
          responsible for the same population – corrections on the security side, health for medical care and


8 of 21                                                                                                                     10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 10 of 22

          mental healthcare. And there’s serious conflict – there’s a cultural conflict – between the two sides.
          Inmates who threaten suicide are often referred to as bing-beaters. And convergently, mental health
          staff – or white coats, as they’re called – defer to taking every thread or seeming thread seriously.
          And, as you describe changing the culture, how do you convince people who for years have done
          business one way – given that the population is now at least 40 percent mentally ill, how do you
          convince everybody to play nicely together?

          Mayor: Look, I – this is a government problem. This is not – I want to be very very clear – I’ve been at
          this a while – this is not a problem specific to Rikers Island. And it’s not long ago in this city that the
          approach to the work, for example, between the police and the fire department often lead to
          misunderstanding and conflict – and there’s been a process over years of bringing those two
          agencies closer. And I think there’s tremendous collaboration now as a normal everyday thing, but
          that wasn’t so true 20 years ago. There’s been a history, even recently – before this year, certainly –
          of different agencies involved in the fight against terrorism having trouble collaborating. I give
          Commissioner Bratton, again, great credit for having brought a really powerful and positive dynamic
          to the relationship with our federal partners that wasn’t always there in the past. So this is a dynamic
          in all of government that has to be addressed. I think there’s a been a lot of work done – and Tony
          Shorris has been leading the way – to make sure that the two agencies are working on a common
          vision, and are working together to address a set of problems that, again, were beyond anything that I
          think we could’ve imagined in the first instance. And I think there’s been real progress, because there
          is a constant collaborative effort to figure out what do we have to do. For example, the huge amount
          of investment in mental health is something that, obviously, Dr. Bassett believes in deeply, and is a
          symbol of the kind of contribution that she also has made to this process. So, I think we are undoing a
          troubled history, and we’re creating an atmosphere of collaboration where it didn’t exist. Do either one
          of you want to jump in?

          First Deputy Mayor Anthony Shorris: Yeah, I just wanted to mention – just to follow up on that –
          that conversation is a consistent and ongoing dialogue. We – I think Mary Bassett feels very strongly
          about the issues of protecting the health of the inmates – both their mental and physical health – and
          obviously the commissioner does too, which is part of the reason why one of his early sets of
          investments that he called for was particularly to address mental health issues on the island – and I
          actually suspect that you’ll see more of that in days to come. I think it’s also been clear to all of us,
          though, that the first health issue on the island is the safety of the officers and inmates who are there,
          and that if we don’t protect their safety as a physical matter, we’re not going to be able to do anything
          else, which is why we put our finger pretty hard on that scale – to make sure that there’s a safe
          environment for everybody – whether it’s through the cameras, the training of the staff, or the much
          broader culture change that Joe’s talking about. We’re also in the process of looking at the whole
          healthcare delivery system – both mental and physical health – and that’s been in place too long and
          not meeting the standards we’d like it to meet. And so we think there’s going to have to be some
          change on the physical health delivery side as well. So that’s a conversation that we’re engaged in
          already – all of the public health players and correction players – and I suspect you’ll see some
          substantial changes there as well.

          Commissioner Ponte: I’d only – I’d only add to that that, you know, when you have agencies – and
          obviously in any organization, you’ll have different agencies performing different functions – you
          know, for me, how do get people to work together? You try to go for those things that we all want. So,
          safe humane treatment of offenders – we all want that – it doesn’t matter if you wear a uniform of
          you’re a clinician. So those common things really bond us together to get to where we need to go,


9 of 21                                                                                                                     10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 11 of 22

           even though the work would be different – so you’re performing clinical work as a mental health
           worker or a medical person. The major theme is safe, secure, humane treatment – and that allows us
           to really have an open dialogue about how do we achieve that for everyone.

           Question: I want to talk about punitive segregation. I’m wondering – I know you’re ending it for
           adolescents – whether or not it was ever on the table to end it for the general population? Advocates
           have long called for that. And two – whether those with a mental health illness or diagnosis are also
           subject to punitive segregation? And then, to the mayor, you’ve talked about a culture change –

           Mayor: Why don’t we do those first? You’ll get – you’ll get the other one from me after. So, [inaudible].

           Commissioner Ponte: So the 7 to 8 percent of our inmate population that have severe mental illness
           are excluded from punitive seg, they’re excluded from RHU, which is a subset of punitive seg,
           already. So that’s on the table – they’re excluded. They don’t go and they’re diagnosed prior to that
           ever happening. So the bigger question is, for the other group that have a level of mental illness, how
           do you manage those? So it’s a – it becomes, again, a question of safety. Some people who are
           mentally ill are violent, so how do you manage that population safely and humanely? Punitive seg is
           not the answer, but part of what we’ll be working with the DOHMH is finding that answer that allows
           safe, humane treatment for everyone. And the question on just punitive seg in general – you know,
           we’re – we’re not working to eliminate punitive seg – it is a piece of inmate discipline – but we hope to
           get in the front of the behavior issues by offering better programing that will prevent inmates from
           acting out, rather than just responding with a negative reinforcement of punitive seg.

           Question: And then, when you talk about a culture of change – during this time period, Norman
           Seabrook has been at the helm of the correction officers union. He has long been [inaudible] to
           change. I’m wondering what kind of reaction you’re getting from him, particularly as contract
           negotiations go on, and whether or not you think he’s still the right person to be representing these
           correction officers?

           Mayor: I have a good, respectful relationship with Norman. Look, I’m never going to tell you who
           should represent a group of working people – it’s their choice. But I have a good and respectful
           relationship with him. And I think he understands these changes and why they’re needed – and
           certainly has worked with us to achieve the changes that we’re making. But the bottom line is, this is
           what has happened – it’s an entirely – literally – an entirely different matter than anything involving
           contract negotiations. These are policy changes that have to happen – they’re not about contractual
           issues. They are about fundamental policies and fundamental investments that have to happen to fix
           what’s been a broken culture.

           Question: Commissioner, you mentioned last time that you’re working to transfer 16- and 17-year-
           olds off Rikers. Could you update us on that?

           Commissioner Ponte: We’re – we’re still under investigation in doing that. So we’ve looked at sites,
           we looked at [inaudible] sites the mayor’s indicated. If we can find a better site off-island that gives us
           the services and space that we need, then we will pursue that. So we’re still in the investicary stage of
           look at [inaudible] sites. And so, I know Liz Glazer’s office and several staff are devoted full-time to
           doing that, and so we’re actively pursuing that, but don’t have a location that we could say, well, this
           is going to be – this going to fit the need.

           Mayor: All right. And just to add to that – I think the point is, it’s a – it’s an important goal and a worthy


10 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 12 of 22

           goal – it’s not necessarily an easy goal. And it’s something that only would work if we could find the
           right conditions for that change. In the meantime, for certainly the foreseeable future of years ahead,
           the facility will be on Rikers, and so our focus is on making that facility work better.

           Question: You said you replaced 90 percent of the leadership. [inaudible] explain how many people
           is that? What are you defining as leadership when you make that statement, and [inaudible] particular
           or what [inaudible]?

           Commissioner Ponte: So, leadership for me would be wardens and higher on the uniform side. So
           we had wardens, assistant chiefs, bureau chiefs, and then the chiefs – so, everybody in that structure
           – all but two have been replaced. All of our what we call deputy commissions on the civilian side,
           they’re all new except for one – so those are civilian leadership positions in the agency. So it’s a – you
           know, anybody from deputy commissioner up, everybody on the uniform side from warden and
           higher, has been changed.

           Question: So then how many people is that? [inaudible]?

           Commissioner Ponte: 25 or 30.

           Question: I wondered if you’re also going to be looking at the conditions [inaudible] Rikers, but also
           at the court system that leads the way there? Because [inaudible] delays, but also possible expansion
           of mental health court – I heard about possible – court specifically for 16- and 17-year-olds. And on
           the way out, whether there’s going to be [inaudible] – those kind of things that sort of are part of the
           culture [inaudible]?

           Mayor: Yeah, I’ll start and my colleagues will certainly add. We are looking at the whole picture. One
           of the topics of our conversation – a very productive and positive conversation with the five district
           attorneys – was how do we look at the front end of the process and do better. There’s certainly
           people who end up on Rikers for very simple challenges – for example, the inability to pay for very
           modest bail. So bail reform is a serious issue that could be addressed without any impact on public
           safety. There’s certainly real possibilities with what we could do to support people on the back end of
           the process. So all of that is on the table. Tony and Joe are going to be a key part of that discussion,
           obviously Liz Glazer, who heads my criminal justice office. I think, as with any fundamental reform,
           there’s many ways to affect the equation, but certainly there are people, you know, who should not
           get to Rikers Island for one reason or another, including, obviously, a lot of people who we hope,
           through the work we’re doing with the mental health task force, can be addressed – can have their
           more fundamental problems addressed – in a mental health setting. So I think all of that – everything
           you raise – is on the table as the kind of things we have to look at to change the situation
           foundationally. You want to add?

           Commissioner Ponte: Yeah – and absolutely right. So a lot of our issues are not driven by us –
           they’re driven by city processes or court processes. So I think the mayor’s absolutely right – a lot of
           the fix for us would be how do we handle prior to or short term incarcerations? You know, so there’s a
           lot of mentally ill – how do we, you know, take that group and have them put in the program rather
           than going to jail? So there’s a lot of community-based pieces that will be helpful to us.

           Mayor: And let me – let just add also – the conversation has already begun with the court system as
           well – the leadership of the court system – because they absolutely are key players in this. I’m going
           to do two more here and then swing over here.


11 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 13 of 22

           Question: Full disclosure – I represent the Corrections Officers Benevolent Association.

           Mayor: We appreciate the full disclosure.

           [Laughter]

           Mayor: You’re an honorable man.

           Question: [inaudible] – what are you going to do?

           Mayor: [Laughs]

           Question: The Board of Corrections had a meeting this past Tuesday, November 18. From that
           meeting were some – were articulated some concerns about whether some of the things that
           Commissioner Ponte had talked about in terms of making changes, whether the variances that you
           would need from the Board of Corrections would in fact be given. Have you given any thought to that?
           And what are your thoughts about that? Particularly the part about the segregating the most
           dangerous inmates – there seems to be some pushback about that.

           Mayor: Well, I’ll just start and pass it to Joe and Tony. Again, I fully support the proposals that the
           commissioner put forward to the board. There is — the board obviously goes through a public
           process and it goes through deliberation. It’s a group of very experienced people. But I believe these
           are the reforms we need. I believe we’ll win that vote in the end and I’m certainly going to strongly
           urge the members to do so.

           Commissioner Ponte: And it was open dialogue at the meeting. There were some in support and
           some against, but at the end of day it was a 6 to 2 vote to put this into the rule-making process. And
           we’ll work very hard to convince the members of the board that this was the right thing to do.

           Question: How do you expect your marijuana policy to impact the inmate population? Shrink it? And
           how do you think it’ll impact your plans for Rikers, if it will at all?

           Mayor: Well, we certainly – look, we were very careful in the announcement with Commissioner
           Bratton not to project a specific number in terms of the changes in arrests that would result from the
           new policy, because – we’ve all learned over many years – until a policy is actually implemented and
           refined, you can’t accurately predict the results. I do think it’s fair to say that whatever happens as a
           result of that policy will be a change in the thousands, in terms of arrests. I’m not going to put a
           specific number on, but I’m saying that’s the ballpark that we should be talking about. And
           undoubtedly that will have a positive impact in terms of reducing the presence on Rikers of some
           people who clearly should not be there, because instead they’ll be given a summons. So I think –
           can’t give you the exact size of the impact, but I am certain it will have a positive impact.

           Question: Mr. Mayor, when you go to Rikers later this month –

           Mayor: Next month, December 18.

           Question: Sorry – right. What do you want to do there, see there? Do you plan on talking to
           inmates?

           Mayor: Well, I’m going to obviously be working closely with Commissioner Ponte to determine what



12 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                         Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 14 of 22

           would be the most productive visit. I want to reiterate to everyone there my commitment to reform.
           Obviously, in everything I do with every agency, I want to get a better sense of what’s going on. And
           that happens frequently with my other visits to locations with different agencies and just, you know,
           going all over this city to get an understanding of different issues. But the central point, from my point
           of view, is to make clear that this – these reforms are happening and we are deeply committed to
           them and they will happen for the long-term.

           Question: Have you ever been there before?

           Mayor: I went long, long ago, but I have not been in recent years.

           Phil Walzak: Two more, please.

           Mayor: One. Two.

           Question: Mr. Mayor, you said, you know, when you were running you didn’t speak a lot about
           corrections, you didn’t know a lot about it, but you did talk a lot about bringing progressive change or
           reform to other city agencies.

           Mayor: Yup.

           Question: Now you’re kind of on the other end of that after talking about it, and working your way
           through making change to a large bureaucratic organization with the City Council, sometimes pushing
           to move faster, or further. And I was wondering if you could speak a little bit to the challenges of
           actually, you know, making those changes, implementing new training, things like that – the political
           reality of actually getting that change though when maybe advocates would like to see it faster – a
           side that you might have been on in the past. And just also, how you’re balancing – I mean, I know
           you said that Norman Seabrook and the unions see the need for this change, but sometimes their
           rhetoric doesn’t make it quite seem that way [inaudible]. So I’m wondering how you’re balancing that
           as part of that process.

           Mayor: Well, I’m going to not – I want to make an analogy, and it’s not meant to minimize the problem
           and the huge human consequence of the problem, but yesterday, when I was in Washington, was
           interviewed, the topic of money ball came up and I think there’s a really important parallel here. I think
           what we’ve had in the last years is an assumption that things couldn’t change and there was a way of
           doing things that was the only way to do things, and we were stuck in it. I think there was the
           assumption about, you know, how City Hall would deal with labor. I think there was an assumption
           about whether inmates could be reached with better strategies. I think there was an assumption about
           a level of violence that somehow was believed to be normal and, you know, consistent, as opposed to
           something that had to be addressed and broken down and changed. So I would say that, you know,
           again, I think there was a lot of neglect of the agency. I think there was a lack of public debate. And I
           think there was a lack of willingness to recognize that all those things were not written on a stone
           tablet somewhere. It’s not like the only way to do things was the way they were done, unfortunately,
           for too many years at Rikers Island. In fact, the whole situation had to be shaken to its foundation.
           And when I was interviewing Joe, he talked to me about experiences he had. And I remember very
           vividly the experience he had early in his career at Walpole Prison in Massachusetts, which is a
           facility I used to hear a lot about because it was a facility entirely out of control – and Joe was one of
           the people who turned that around. And I remember in that conversation hearing him talk about how a
           lot of policy-makers had given up and believed that sort of a violent, lawless dynamic was just the


13 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 15 of 22

           way it was in that facility. And he believed it could be broken down piece by piece and turned around.
           And you had to win the confidence of those who were going to be able to make the change, and you
           had to show folks who were resisting that you meant business, and there was a way of doing these
           things. And so I think the history is one of neglect and lack of creativity and lack of belief and a
           disregard for the human beings involved — both the officers and the healthcare professionals, and
           also the inmates. And we just don’t think of things that way. So I believe these changes have to
           happen, and therefore they will happen – and any opposition to them, you know, we will move past.
           But to be clear, as you described as sort of potential pushes and pulls, that’s not been my experience
           in these last months. I think the City Council is anxious for change, but they’ve also been supportive –
           and you saw that in the budget process. I think, by definition, every labor union raises concerns but,
           again, in the case of Norman Seabrook, he has understood the need for these reforms. So I don’t
           think it’s played out quite as you would have forecasted, according to the way you laid out the
           question. But, one way or another, change happens when you’re resolute about it, and we are
           resolute about it.

           Question: Thank you, Mr. Mayor — two part question. I was wondering if some of what the prison
           advocates say that is lacking in Rikers are programs or tools for the inmates to either acquire some
           skill so that when they leave Rikers they’re able to look for a job, write up a resume. I’m wondering if
           there’s anything that’s being done in the way of implementing that kind of program so that while
           they’re in there they’re spending their time in either doing training or job-building skills. And the
           second part of the question — to the commissioner — I know in Maine, in one of the facilities that you
           were in charge of, inmates wouldn’t go into punitive segregation unless you signed off on it. Do you
           think Rikers could ever get there, that you would personally have to approve an inmate going into
           segregation?

           Mayor: On the first question, I think the notion of trying to help rehabilitate people, help put them on a
           positive path pervades our whole philosophy of criminal justice. Certainly you see it at corrections,
           you see it at probation. And so I think those type of approaches where you help people find a skill and
           help them find a way to belong in society positively and productively are absolutely our philosophy.
           We have more to do on that front but it fits with all the – you know, the question earlier about the
           whole host of reforms that have to happen, that’s certainly in the vain. But Joe can speak to the
           details more and obviously to your second question.

           Commissioner Ponte: So as we’ve looked at the organizational design, a lot of our inmates we’re
           not going to do much for. They’re in and out, in some cases, hours. So we’re looking at functionally
           how to design the organization so we have a process for those that are in and out quickly and then a
           much different process for those that are going to be with us for a while – in some cases, a year or
           two years. So those are the ones that we can teach skills to. Those are the ones that will get some
           training. Those are the ones that we can really impact their lives. So it’s a – it’s a – right now we’re
           really trying to design that footprint, so some of our facilities will be the rapid turnover, some of our
           facilities will be the more treatment-focused on those guys that will be with us for some time. The –
           kind of the national confusion on punitive segregation — in state systems we have punitive seg,
           which is a disciplinary process, and then we have administrative seg. In Maine, the actions that we
           took were focused on administrative seg. So you weren’t there for a period of time – you could be
           there for a long period of time based on, you know, reviews. So we’ve had people that were there for
           years at a time, and so what we did was – stopped the process of putting people in administrative seg
           without my approval. So that was a different process than somebody who assaults somebody and is
           going to go to a hearing. The wardens at the facilities could make that decision. But when you made a


14 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 16 of 22

           decision to take that person and put them on the administrative segregation side, that required my
           approval. So we actually don’t do that here in New York City, so it’s not that kind of an issue for us.

           Question: Mayor, do you think that the Board of Corrections is an effective monitor, or can be?
           What’s your take on their role?

           Mayor: Well, I think the Board of Corrections is an important check and balance, and that’s why you
           have boards that oversee agencies and this is obviously an area — a complex and delicate area. I
           think it was important to get some new members on the board. I’m very, very impressed by the people
           who were willing to serve who’ve joined recently, who are extraordinary professionals – and I think
           that’s part of what was necessary too – was to, you know, strengthen the board membership – people
           who had a lot of experience dealing with serious human challenges and transforming organizations,
           who could really help figure out the bet strategies and ask the tough questions. I think the board is
           doing that now.

           Question: So on this very small fraction [inaudible] that are responsible for the [inaudible] –

           Mayor: 2.2 percent, right?

           Question: So have you been able to drill down and get a handle – I’m talking about 2.2 percent
           [inaudible] suffering from addiction or mental health issues. Is there some common factor that can be
           addressed at a large scale if you do get this 2.2 isolated on the island?

           Commissioner Ponte: So about 16 percent of our inmates are in a high classification – so our most
           violent came in with violent crimes, [inaudible] classified. They account for a large number of those
           dangerous incidents. So we know, kind of – identified that population. And then another large set is
           those with mental illness. So there’s two sets that we’ve identified that are, kind of, over
           representative in these violent cases. But again, the process of knowing that, and then how to
           formulate both from the intense supervision model and then obviously on the mental health side —
           what do you do with people with mental illness that are acting violently? – that’s part of the discussion
           we’ll have with DOHMH, as we formulate that.

           Question: On that 2.2 percent [inaudible] names –can you give us a specific example of an individual
           case of somebody’s — just describe what they did, how many things they did –

           Commissioner Ponte: Well, we’ve had 88 slashings or stabbings – so that’s 88 people that did that.
           Out of that 88, I believe about 10 of them were repeated. So those are clearly a – a – a population
           that we’d identify to put in intensive supervision to restrict that behavior or stop that behavior.

           Question: So, Mr. Mayor, you had talked previously about the need to possibly revisit some of those
           [inaudible] rules in order to really [inaudible] leadership challenges [inaudible]? I wanted to know
           [inaudible] where is that effort at now? And what kind of [inaudible]?

           Mayor: You know, I – the core philosophy I brought to that was to say that the commissioner had to
           have the ability to get leaders in place who could achieve this kind of reform. And I think there’s still
           some bigger actions that we have to consider to help that now and in the future. But that being said, I
           think what the commissioner’s done, literally since the first time the issue came up, has been to very
           intelligently keep moving different people in a way that allowed him to get better leaders in place. So I
           think he’s figured out in what’s a – bluntly – a fairly constricted environment, in terms of the rules, a
           way to elevate real reformers and effective people – and that’s why you’ve now seen this very very


15 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 17 of 22

           intense turnover in leadership. So I think the situation is far improved because of the commissioner’s
           actions. What was the second part you said?

           Question: Just where’s the process as far as [inaudible]? And also what is the nature of the civilian
           leadership [inaudible]?

           Commissioner Ponte: Yes, we have a deputy commissioner for operations now, which is – name’s
           Errol Toulon, who was over [inaudible] – he supervises some of the custody operation. We are also
           developing deputy commissioner positions for our inmate management. So how do we house and
           how do we manage the inmates? So, as we’ve seen, [inaudible] the organization will go out and seek
           those expertise somewhere and bring them in to do these specific tasks.

           Mayor: And Joe has, I think, because of the nature of the reform program and the momentum he’s
           created, now has been able to tap into really impressive leaders literally from all over the country, who
           want to come here and be part of this reform. And we fully support his vision of adding additional
           leadership roles as needed to create a team that can sustain the reform for the long term. Let’s go to
           off-topic questions.

           Question: Can I – one more on topic?

           Mayor: You can do one more on topic.

           Question: Thank you. Just to follow up one last time on the enhanced security – what do you need to
           do to prepare and then protect the staff who would be in that – in that portion?

           Commissioner Ponte: Okay, so, the best thing we could do for staff is really know the inmates – so
           know who’s there, know why they’re there, know the, you know, the history. And so we – part of the
           issue for us is to restrict the access these inmates have outside these units – so the ability to – for
           contraband, the ability to make weapons, manufacture weapons, the ability to communicate with
           other inmates in the jail – are all helpful in managing this difficult population. We have – and most
           services will be brought to the inmate in the housing unit. And the ratio of inmate to officer will be 25
           inmates to four officers, which is, again – typically it’s one to about 50. Here it’s four to 25, so a much
           different ratio of staffing.

           Mayor: I’m just going to keep going around this way. Off topic – off topic, off topic – yes –

           Question: [inaudible] wife should have a chief of staff. A majority said they don’t think she should be
           as involved in the government. One – your reaction that? Has she chosen a chief of staff? If so, who’s
           the person? What’s her salary? And also, do you see some parallels to when Hillary –

           Mayor: Is this a 16-part question? [Laughs] I’m impressed – if you say it fast enough, you can get
           more parts in – that’s very good.

           Question: [inaudible] White House [inaudible].

           Mayor: That’s right – there you go.

           Question: Just – do you see any parallels to when there were complaints about Hillary Clinton being
           involved in the government, and President Clinton said, “Well, you’re getting two for the price of one”?




16 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 18 of 22

           Mayor: Without repeating the quote, which all of us who were around at the time remember got lots of
           coverage, I think it’s fair to say – and I have immense respect for both President Clinton and
           Secretary Clinton – I’ve had the honor of working very closely with both of them – they had a
           partnership. Their ability to serve people was directly related to that partnership. They both did an
           immense amount for this nation and continue to. I am a local official – I’m a humble local official
           nowhere near that level of impact, but I’m trying to do a lot for the people of this city. And the person
           who is my partner in everything I do is my wife, and she is my top advisor, and she is the person who
           I’ve built everything I’ve done with. And by definition, she’s going to play a very important role – and
           has been playing a very important role – in this administration. She played a crucial role on our effort
           to achieve the pre-k program. She’s played a huge role on our effort to focus attention on domestic
           violence, which is a growing problem in this city that has to be addressed – and she is playing a major
           role working with the Mayor’s Office to Combat Domestic Violence, and with a host of organizations,
           to perfect our strategies and to reach people all over this city. And she’s only but just begun – and, as
           I said the other day, she’s working for free on behalf of the people of this city. So by definition, she
           needs a staff. I am absolutely committed to that, because that’s what’s going to allow us to do more to
           help people in this city. And I think in the end – I’m not going to go into my critique of modern polling
           – I think a lot of polling doesn’t get it right in general, but that’s not the point here. People hear a
           question in isolation, they react in the middle of their busy day – that’s fine. I think if you get to the
           bigger discussion – what are we here to do? – I ran on a pretty clear platform, and I made clear that
           we were going to change a number of things. And people gave me an extraordinary mandate to make
           that change, and I think in a representative democracy, you say to people, “Here’s what I’ve done.
           Here’s who I am. Here’s what I stand for. Here’s a platform” – and, in our case, a platform we take
           very very seriously. And then you leave it to the leader to figure out the way to actually achieve the
           goals and hire great people to manage a lot of the pieces – and that’s the nature of things. So I, long
           ago, told the people of this city, my wife was going to be a central part of this operation – and we’ve
           been able to achieve a lot, and she’s been a big part of it. So, by definition, she’s going to have a staff
           that’s going to help us achieve what we need to achieve. As for who she will name as her chief of
           staff, how, when, I’ll leave it to her to make that announcement.

           Question: What about the salary? That’s been a big criticism.

           Mayor: Again, I’ll – I’ll – the fact that something’s been a criticism doesn’t necessarily make it right
           – I’d just like to offer that point. The question is – it’s the money ball point again – what are we getting
           for the resources we put in? I think if you start with a highly effective public servant you get for free,
           you’re ahead of the equation right there. And the team around her will make sense in terms of what
           she’s trying to achieve on behalf of the people of this city through this administration. So when the
           time comes, she’ll certainly have more to say on that, and who the person is, what they’ve done, why
           they are – what their role will be, what their salary will be – all that will come out.

           Question: Earlier this week, Dean Skelos made some comments about your office and your
           participation in this year’s election for the state senate. He’s calling it inappropriate.

           Mayor: Did he say that about Michael Bloomberg when Michael Bloomberg provided him with
           constant support?

           Question: I do not think so.

           Mayor: I’d ask you to research that question.



17 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 19 of 22

           Question: So your comments about his – the fact that he finds your behavior inappropriate? And
           two – do you think that you’ll be able to work with him in the next session?

           Mayor: Absolutely we’ll be able to work with him. Look, I – I think the majority leader is an amiable
           guy. He’s a, you know, a long-serving public servant. He’s someone I’ve had good conversations with.
           We don’t agree some things, but that doesn’t mean we can’t work together. I’ve had differences,
           philosophically and on certain issues, with a host of other leaders over the years and still been able to
           work effectively with them – and I am committed to working with them on behalf of the people of this
           city. But on the first part of the question, I – again, with absolute respect for him, I just can’t buy into
           the notion that if the previous mayor spent a lot of time and energy supporting a Republican majority,
           that somehow it’s strange that a Democratic mayor would believe that a Democratic majority makes
           sense and would pursue the kind of policies that I believe in, that, by the way, again, were everything
           I talked about last year. Let’s take the obvious example of the increase in the minimum wage, with
           indexing and local option to build upon the increase. Look at the cost of living in New York City. Look
           at the fact that 46 percent of our people are at or near the poverty level. One of the most foundational
           things we could do would be to increase the minimum wage statewide, put an indexing provision in so
           it would keep moving with inflation, and give localities the right to go up to 30 percent higher. That
           would be transformative in the lives of hundreds of thousands of people in this city. Of course that’s
           what I was fighting for when I fought for a Democratic state senate. It’s quite clear that’s going to be
           very very hard to achieve with Republican leadership – that’s not a news flash – the Republican
           majority in the state senate has opposed minimum wage increases year-in and year-out. So I think I
           was doing what comes naturally, actually. I was doing the thing that represents my values and the
           needs of the people of this city – and I would do it again – and I look forward to doing it again.

           Question: Do you support the [inaudible] ten-cent fee on plastic and paper bags?

           Mayor: I think we have to address the problem. I’m not certain yet what the best way to do it is and if
           it is through a fee, or what level it would be, but I think it’s an important proposal, and a worthy
           proposal that we have to consider among other options. The bottom line is, you know, we’ve – you’ve
           heard what we’re doing on climate change. It’s very important for this city to be a leader, both for the
           changes we have to make for our people, but also as a leader in this country, so we’ve committed to
           80 percent reduction in emissions by 2050, we committed to retrofitting all of our public buildings and
           creating a strategy to retrofit private buildings. So I put this in a similar vein – you know, the plastic
           bags are very negative for our environment, obviously continue our reliance on petroleum products
           – there’s a lot of reasons to move away from them. The best way to do it I’m still not certain, but we’re
           going to have a very productive conversation with the City Council on that.

           Question: Is there any update on summonses for marijuana offenses? There’s been a lot of concern
           about the racial bias that you have spoken about [inaudible] from the arrest, [inaudible] summonses.
           And then summons court doesn’t have [inaudible] when it comes to if they get a ticket and it’s
           unconstitutional why they were stopped in the first place. Are you concerned about that? Because if
           you walk in with a summons, no one’s going to say you were stopped unconstitutionally – there’s no
           checks and balance.

           Mayor: Well, I think there’s a couple different points. I have heard that concern, and I think it’s rooted
           in an honest analysis, but I would say I disagree with some of the logic. By definition, if there’s a
           concern about arrest levels, and a concern about how some of the arrests were handled, and you
           then come up with what is, by definition, a less invasive approach – a summons – you’ve made
           inherent progress right there. Now you’re right to say, well you still have to make sure the summons


18 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 20 of 22

           process is handled, but I would still like to say that – let’s start at the beginning – getting away from
           arrest and to summons wherever appropriate is a huge a step forward in and of itself. And
           Commissioner Bratton speaks a lot about the principles of policing – Sir Robert Peel and the whole
           notion of keeping order and doing it in a way that’s the least invasive to the citizenry – this is an
           example of that philosophy playing out, and it’s a step forward in and of itself. In terms of how you
           ensure fairness, one of the things I’ve talked about is – and Commissioner Bratton agrees with this –
           we’d like to make sure, with the court system, that we do include on the summons forms kept by the
           police demographic information so we can watch the patterns – and that should be publically
           available – that’s very important. Second – we’re working with the court system to see if we can add
           the option of a mail-in system. Remember, that’s a choice that the individual citizen would make. If
           they got a summons, they could mail in and respond to the summons and pay a fine, but they would
           be accepting that they were guilty of the offense in question. If they wanted to fight it, of course they’d
           have to go to the court to fight it – if they disagreed with the reason for the summons – but I think we
           can do a lot there too in terms of increasing representation and helping to make sure that process
           goes more smoothly. So, we did not for a moment – I think the core of your question – you know,
           were we going to – I would say it this way – were we going to leave everything else static? No. I think
           there’s other reforms we have to make around this reform to improve the whole process, but I’m
           absolutely convinced that a summons approach, where appropriate, is a step forward – and if we can
           add the mail-on – mail-in piece, which we’re trying to, that that will make it actually much easier for
           people to navigate.

           Question: Mr. Mayor, just back to Rikers for one second – why should the average person in New
           York – the average taxpayer – care about conditions on Rikers? You know, you indicated you weren’t
           up to speed on it initially – certainly the vast majority of people aren’t. Why should they care?

           Mayor: Well, if you’re – you’re leading the witness with the formulation “the taxpayers,” so let’s start
           there – and I think it’s a good one, because we put a huge investment into Rikers, but we’ve been
           doing it the wrong way. Until this year, we weren’t looking at a lot of the root of the problem. If we had
           folks whose real problem was a mental health problem, we weren’t figuring out how to divert them or
           treat them instead of just leaving them untreated to continue the same behavior and have the same
           problems. That wasn’t good for the taxpayer, that wasn’t the right way to invest. Obviously, the
           atmosphere of violence caused all sorts of unnecessary costs of every kind. Now that’s the taxpayer
           angle – let’s go to the human angle and the moral angle – and this is a compassionate city, this is a
           decent city. No one wants to see violence against any of our public servants – our corrections officers
           or healthcare workers. No one wants to see violence against an inmate, even if they’re somewhere in
           the criminal justice system. You know, we believe in the rule of law – we do not believe violence being
           meted out against someone who is in the middle of the criminal justice process. So, on a humanity
           – sort of a humane governance level, on a level of our responsibility to people who do the work, what
           happened at Rikers was unacceptable. So I think the more New Yorkers understand about the
           situation, the more they will find it something they can’t tolerate, and the more they’ll believe in these
           reforms, the more they’ll believe in the investments we’re making. And they also will come to believe
           that these investments will ultimately save money, because they will get at the root of the problem –
           they’ll reduce the population, they’ll avoid violence. It is first and foremost a moral argument, but it’s
           also an efficiency argument.

           Question: Al Sharpton’s finances [inaudible]. I was wondering if you’re troubled by some of the
           [inaudible]? [inaudible] – I just wanted to get your thoughts on it.




19 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                        Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 21 of 22

           Mayor: He is definitely an important civil rights leader. And as I’ve said, he’s done a lot of good to
           address civil rights issues and to do it in a non-violent fashion – and that is a very very important thing
           for this city and for the nation. I have not seen the details of the report. You know, I’ll start with the
           obvious – everyone should pay their taxes and everyone should pay their taxes on time. But I will also
           say in my long experience, I know a lot of good people who ran into one kind of problem or another
           with their taxes. I know a lot of people – I would not take a poll of this room – I won’t do that to do you
           – but I know a lot of people who have filed late or gotten an extension or gotten a payment plan. It’s
           not an abnormal thing in American life that some people have tax issues. What matters is are they
           dealing with those issues? Are they resolving them? Are they getting current with the federal
           government and the state government in terms of their taxation situation? So, I can separate, in any
           case – again, I – because this is something I’ve experienced with a lot of people over the years – I
           can separate that what they do and what it means for all of us – they work they do – from the fact that
           they may have a tax issue they have to deal with. I think the important thing is to deal with it.

           Question: Mr. Mayor, when President Obama speaks tonight about his executive action on
           immigration reform, where will you be watching his remarks? And what will they mean – what do you
           anticipate they could mean for the city?

           Mayor: I’ll be at Gracie Mansion. And I’m really proud of the president for taking this action. I think it’s
           something that will have tremendous support all over the country. It will have a huge positive impact
           for this city and many other cities, because we’re going to finally begin to support our people, who
           happen to be undocumented. I mean, again, this is this interesting human dynamic – and I want to
           refer back to something. You joined me on a wonderful trip in July. And when I went to the Vatican, I
           had the great honor of meeting the secretary of state, Cardinal Parolin, and what he wanted to talk
           about was immigration reform – and he wanted to talk about it from a moral perspective. He wanted
           to talk about human beings who were going unrecognized, who were, in a sense, stripped of their
           humanity by a legal dynamic and a political dynamic that did not acknowledge their existence. And I
           talked to him about what we were doing with the municipal ID card here, and he was very positive
           because he said it all begins with recognizing the humanity, with respecting that each of us is a
           human being. And so what’s happened – what the president is addressing – is families. He’s
           addressing families that would otherwise be torn apart – you know, children who came here not of
           their own choice, but are contributing to this country and will be part of a positive future for this
           country. So I think it’s a reform that’s long overdue, that will help hundreds of thousands of families,
           and therefore will help make our nation stronger. It will certainly help us in cities that have, as we
           have here – we have almost half a million undocumented people – many many American cities have
           tens of thousands, hundreds of thousands of undocumented people – to finally begin the process of
           normalizing people’s lives – and creating a whole society will be a really positive step forward for this
           country.

           Question: Just to follow up, you mentioned the municipal ID program – is there an update? Are we –
           should we anticipate them coming in January?

           Mayor: January 1 at a theater near you. It’s not actually going to be in a theater – that was a figure of
           speech.

           Question: [inaudible] back to Reverend Sharpton again. When the verdict from Ferguson comes in,
           which could come tomorrow, he is having several cities protest whatever the verdict is – including in
           Brooklyn, at the courthouse in Cadman Plaza. Is there any concern by the city? And is the NYPD
           going to be stepping up patrols there?


20 of 21                                                                                                                    10/4/2022, 5:30 PM
Transcript: Mayor de Blasio Hosts Media Roundtable on Reform at Rike...   https://www1.nyc.gov/office-of-the-mayor/news/932-14/transcript-may...
                         Case 1:21-cv-09012-DLC Document 41-36 Filed 10/24/22 Page 22 of 22

           Mayor: NYPD is very very aware of the timing and dynamics around Ferguson. I’ve spoken several
           times to Commissioner Bratton about it. And there’s preparations that have been made, but the
           preparations have been made for a peaceful protest, which is fully what we expect. It’s obviously a
           national moment and people all over the country will respond to it, but, as we’ve seen with a lot of the
           protests lately – related to Ferguson or other situations – they’ve been done peacefully. And, you
           know, NYPD does, I think, a masterful job of working to ensure the right to protest is done properly
           and that order is kept. So that’s how we anticipate things going.

           Phil Walzak: Last call, guys.

           Question: Mr. Mayor, on the mail-in summonses for marijuana arrests — if you were to mail-in a
           summons, is that – would you have to, in a sense, plead guilty?

           Mayor: Correct.

           Question: And would that give you a record? Or would that – is there a way to do it so that it’s sort of
           neutral?

           Mayor: So I’ll go as far as I can go – and Tony, if you know — I know there’s a point at which after a
           certain number of offenses things change, but I don’t want to misquote. So what I’ll say is – the first
           part of your question is, yes. If you – for example, you can do the same with a parking ticket – if you
           say, yes I did this thing, here’s my money, I’m accepting blame, that is something you can do in the
           mail-in system, which is not in place yet. I want to emphasize – it’s something we’re trying to arrange.
           And it’s very important in what we do in the paperwork that goes with it that people are reminded that
           if they don’t want to agree to the charge – if they think they want to fight it – that they have the right to
           do so in person. What I don’t know well enough is how the charges may accumulate if you have
           multiple situations – and that we’ll get you a formal answer on.

           Question: Just wondering, the legislation that was discussed yesterday about regulating Times
           Square characters –

           Mayor: Yes.

           Question: I’m just wondering if you support that.

           Mayor: Although I haven’t seen the details of the legislation, I think I’ve made very clearly I support
           the council’s desire to create regulation. I think the situation there was unhelpful to this city, and I
           think a lot of people had bad experiences in Times Square because of the lack of regulation. I think
           there’s been every chance offered to the people doing this work to create – voluntarily – some
           standards and they have not done so. And so I think regulation is necessary, and we’ll certainly work
           with the council on that.

           Thanks, everyone.

           Media Contact
           pressoffice@cityhall.nyc.gov
           (212) 788-2958




21 of 21                                                                                                                    10/4/2022, 5:30 PM
